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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

FOREST RIVER FARMS, individually and on
behalf of all others similarly situated,

       Plaintiff,
                                                   Case No. 1:22-cv-00188
       v.
                                                   Hon. Martha M. Pacold
DEERE & CO. (d/b/a JOHN DEERE),

       Defendant.




                           NOTICE OF UNOPPOSED MOTION

       Please take notice that on February 8, 2022, at 9:30 a.m., the undersigned counsel shall

appear before the Honorable Judge Martha M. Pacold, or any judge appearing in her stead, in

Courtroom 1425 of the U.S. District Court for the Northern District of Illinois, 219 South

Dearborn Street, Chicago, Illinois 60604, and then and there present Defendant Deere & Co.’s

Unopposed Motion for Extension of Time to Answer Or Otherwise Plead.
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Dated: February 3, 2022

                                         Respectfully submitted,

                                         /s/ Amanda B. Maslar

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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed using the CM/ECF system, which
will effectuate service on all counsel of record.


                                              /s/ Amanda B. Maslar




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